907 F.2d 1139Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Andre PHILLIPS, Petitioner-Appellant,v.Eugene NUTH, Acting Warden, Maryland CorrectionalInstitution, Jessup;  Attorney General of theState of Maryland, Respondents-Appellees.
    No. 90-6562.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 15, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (C/A No. 89-414-S)
      Andre Phillips, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Audrey A. Creighton, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Andre Phillips seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Phillips v. Nuth, CA-89-414-S (D.Md. Mar. 21, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    